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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 NETLIST, INC.,                                       §
                                                      §
                   Plaintiff,                         §
                                                      §
 v.                                                   §    CIVIL ACTION NO. 2:21-CV-00463-JRG
                                                      §
 SAMSUNG ELECTRONICS CO., LTD.,                       §
 SAMSUNG ELECTRONICS AMERICA,                         §
 INC., SAMSUNG SEMICONDUCTOR,                         §
 INC.,                                                §
                                                      §
                   Defendants.                        §

                                                 ORDER
        The Court issues this Order sua sponte. In light of the many recent adjustments to the

schedule in this case, for the avoidance of doubt, the Court enters the following Docket Control

Order as to unreached deadlines. It is ORDERED that the below schedule of deadlines is in effect

until further order of this Court.

            Date                                                Event

 April 17, 2023                 *Jury Selection – 9:00 a.m. in Marshall, Texas

 7 days before Jury             *Defendant to disclose final invalidity theories, final prior art
 Selection                      references/combinations, and final equitable defenses.

 10 days before Jury            *Plaintiff to disclose final election of Asserted Claims.1
 Selection

 March 28, 2023                 *Pretrial Conference – 9:00 a.m. in Marshall, Texas before Judge
                                Rodney Gilstrap.




        1
         Given the Court’s past experiences with litigants dropping claims and defenses during or
on the eve of trial, the Court is of the opinion that these additional deadlines are necessary.
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       (*) indicates a deadline that cannot be changed without an acceptable showing of good
cause. Good cause is not shown merely by indicating that the parties agree that the deadline
should be changed.

                               ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.
        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.
        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

       Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
an Order granting leave to designate different lead counsel. The true lead counsel should be
designated early and should not expect to parachute in as lead once the case has been largely
developed.
         Motions for Continuance: The following will not warrant a continuance nor justify a
failure to comply with the discovery deadline:
(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;


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(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
shall also specify the nature of each theory of infringement, including under which subsections of
35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
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infringement   under the doctrine of equivalents. Each Defendant shall indicate the nature of each
theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
written description, enablement, or any other basis for invalidity. The Defendant shall also specify
each prior art reference or combination of references upon which the Defendant shall rely at trial,
with respect to each theory of invalidity. The contentions of the Parties may not be amended,
supplemented, or dropped without leave of the Court based upon a showing of good cause.

       Trial: All parties must appear in person at trial. All non-individual (including but not
limited to corporate) parties must appear at trial through the presence in person of a designated
representative. Once they have appeared, any representative of a non-individual party shall not be
replaced or substituted without express leave of Court.

       So ORDERED and SIGNED this 24th day of March, 2023.




                                                             ____________________________________
                                                             RODNEY GILSTRAP
                                                             UNITED STATES DISTRICT JUDGE




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